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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

 KEISHA & RYAN HOTALING,

         Plaintiffs,                                          CASE NO.

 v.

 ENHANCED RECOVERY COMPANY, LLC

       Defendant.
 _____________________________________/

        PLAINTIFFS VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL

        COMES NOW the Plaintiffs, KEISHA & RYAN HOTALING (“Plaintiff”), by and

 through the undersigned attorneys, KROHN & MOSS, LTD., and for Plaintiffs’ Complaint

 against Defendant, ENHANCED RECOVERY COMPANY, LLC, (“Defendant”), alleges and

 affirmatively states as follows:

                                        INTRODUCTION
         1.      Count I of Plaintiffs’ Complaint is based on the Fair Debt Collection Practices

 Act, 15 U.S.C. 1692 et seq. (FDCPA).

                                    JURISDICTION AND VENUE
         2.      Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that

 such actions may be brought and heard before “any appropriate United States district court

 without regard to the amount in controversy.”

         3.      Because Defendant conducts business in the State of Florida, personal

 jurisdiction is established.

         4.      Venue is proper pursuant to 28 U.S.C. 1391(b)(2).




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                                              PARTIES
        5.      Plaintiffs are natural persons who resides in Royal Palm Beach, Palm Beach

 County, Florida and is obligated or allegedly obligated to pay a debt and is a “consumer” as that

 term is defined by 15 U.S.C. 1692a(3).

        6.      Plaintiffs are informed, believes, and thereon alleges, that Defendant is a national

 company with a business office in Jacksonville, Florida.

        7.      Defendant acted through its agents, employees, officers, members, directors,

 heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

        8.      Plaintiffs are informed, believes, and thereon alleges, that Defendant uses

 instrumentalities of interstate commerce or the mails in any business the principal purpose of

 which is the collection of any debts, or who regularly collects or attempts to collect, directly or

 indirectly, debts owed or due or asserted to be owed or due another and is a "debt collector" as

 that term is defined by 15 U.S.C. § 1692a(6).

                                   FACTUAL ALLEGATIONS
        9.      Defendant constantly and continuously places collection calls seeking and

 demanding payment owed to Capital One.

        10.     Defendant constantly and continuously place collection calls from the number

 800-358-4328 to the numbers 561-601-2666 and 561-601-2703 seeking and demanding

 payment.

                               COUNT I
     DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT,
                     (FDCPA), 15 U.S.C. § 1692 et seq.

        16.     Defendant violated the FDCPA. Defendant’s violations include, but are not

 limited to the following:

        a)      Defendant violated §1692d of the FDCPA by engaging in conduct of which the

 natural result is the abuse and harassment of the Plaintiffs;



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        b)      Defendant violated §1692d(5) of the FDCPA by causing a telephone to ring

 repeatedly and continuously with the intent to annoy, abuse, and harass Plaintiffs.


        WHEREFORE, Plaintiffs respectfully pray that judgment be entered against the

 Defendant for the following:

        17. Statutory damages of $1,000.00 pursuant to the FDCPA, 15 U.S.C. 1692k;

        18. Costs and reasonable attorney’s fees pursuant to the FDCPA, 15 U.S.C. 1692k; and

        19. Any other relief that this court deems to be just and proper.

                                              RESPECTFULLY SUBMITTED,


 Dated: December 7, 2011                        By: /s/ Shireen Hormozdi
                                                     Shireen Hormozdi
                                                     Krohn & Moss, Ltd
                                                    10474 Santa Monica Blvd., Suite 401
                                                     Los Angeles, CA 90025
                                                     Phone: (323) 988-2400 ext. 267
                                                     Fax: (866) 802-0021
                                                     Attorney for Plaintiff
                                                     FBN: 0882461

                                  DEMAND FOR JURY TRIAL

        PLEASE TAKE NOTICE that Plaintiffs, KEISHA & RYAN HOTALING, hereby

 demands trial by jury in this action.




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